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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION


  UNITED STATES OF AMERICA                         CRIMINAL NO. 03-50033-04
                                                   CIVIL ACTION NO. 05-0210

  versus                                           JUDGE WALTER

  NICHOLAS GENTRY, ET AL.              MAGISTRATE JUDGE HORNSBY
           __________________________________________________

                           REPORT AND RECOMMENDATION

  Introduction

           Nicholas Gentry (“Defendant”) filed a Motion to Vacate (Doc. 252) pursuant to 28

  U.S.C. § 2255 on the grounds that his attorney was ineffective because he did not file an

  appeal. Defendant later filed an Amended Motion (Doc. 288) to include a related claim that

  counsel was ineffective for not objecting to the loss calculation that was used to determine

  Defendant’s sentence. The Fifth Circuit vacated the sentences of two co-defendants who

  made the objection at sentencing and then pursued the issue on appeal.

           The motion was referred to the undersigned for an evidentiary hearing to resolve

  factual disputes. That hearing was held on March 10, 2006. After considering the evidence

  and relevant law, it is recommended, for the reasons that follow, that Defendant’s motion be

  granted by vacating his sentence and that he be re-sentenced in accordance with the Fifth

  Circuit’s holding on the loss calculation issue and pursuant to the new Booker/Fanfan rules.
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  Relevant Facts

         A. Summary

         The evidence received at the hearing and the record of this case show the following

  facts. Defendant and five co-defendants participated in the armed robbery of two armored

  car guards and stole $780,000 in cash. All six men attempted to make a getaway in a van,

  but the police spotted them almost immediately. A Shreveport police officer chased the men

  on I-220. One of the robbers, Regan Gatti, knocked out the rear window of the getaway van

  and fired several rounds from a rifle.        (Defendant tried to fire a rifle, but the gun

  malfunctioned.) One bullet struck the officer in the left arm after penetrating his car’s front

  window and ricocheting off the steering wheel. The officer’s medical expenses and worker’s

  compensation indemnity amounted to $25,753.25.

         Police cornered the men in a residential area. When they confronted Regan Gatti, he

  fired at them with a pistol. The officers returned fire and hit Gatti in the foot. Gatti was able

  to run away and break into a nearby residence. He dripped blood from his wound as he ran

  through the house. All six men soon surrendered or were captured. The cost to repair or

  replace the damaged carpet, drapes and other items was $17,000.

         Defendant pleaded guilty to bank robbery and use of a firearm during a crime of

  violence. The presentence report (“PSR”) suggested, with respect to the bank robbery count,

  a guidelines range of 188 to 235 months based, in part, on a calculation of the relevant loss

  that included not only the robbery proceeds but also (1) the worker’s compensation indemnity



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  and medical expenses associated with the officer’s wounds and (2) the home repairs. (The

  PSR is filed under seal as Government Exhibit 4.) Defendant’s counsel, Joseph M. Clark,

  Sr., did not object to the loss calculation. Defendant received a 226 month sentence on that

  count, which is within the range suggested in the PSR. A 120 month sentence, to be served

  consecutively, was imposed for the firearms count. Defendant’s counsel did not file an

  appeal.

         Two co-defendants did appeal the loss issue, and the Fifth Circuit held that the

  worker’s compensation indemnity benefits and medical expenses associated with the

  officer’s wounds were not properly included in the computation. If Defendant’s guidelines

  range is recalculated in accordance with the Fifth Circuit’s decision, the proper guidelines

  range is 168 to 210 months. Thus, Defendant’s 226 month sentence is 16 months greater

  than the properly calculated maximum guidelines sentence.1

         B. Appeal Never Discussed

         The robbery occurred in Caddo Parish, but the escape attempt ended in Bossier Parish.

  Criminal charges against the men were instituted in both parishes and in federal court. The

  Caddo Parish court appointed attorney Joseph M. Clark, Sr. to represent Defendant. Michael

  and Judy Gentry, Defendant’s parents, approached Mr. Clark and asked if he would also

  represent Defendant with respect to the federal charges. Mr. Clark agreed, and Defendants’




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           Counsel for the Government agreed that Defendant’s sentencing guidelines
  calculations are correct in this regard.

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  parents agreed to pay a fee of $3,500, with $2,000 down and the balance due in 45 days. Mr.

  Clark testified that there was no written engagement letter in his file. He said that there was

  “absolutely no mention” of appellate work during his meeting with Defendants’ parents. Mr.

  Clark testified that he does not do appellate work and that if a client requests an appeal, he

  refers the client to other attorneys.

         Mr. Clark testified that he did not feel the need to speak to Defendant about the scope

  of his representation, what his fees covered, and the like. With respect to an appeal, Mr.

  Clark testified that the issue “just never came up” before sentence, after sentence or “up until

  this very moment.” Defendant’s father, Michael Gentry, testified that no limitations on the

  scope of representation were discussed with him, and Mr. Clark never said that his fee did

  not include an appeal. Michael Gentry, who was himself convicted and sentenced in federal

  court several years ago, assumed there would be a guilty plea, argument about application

  of the sentencing guidelines, a sentence, and then an appeal. He was under the impression

  Mr. Clark would handle the appeal, but he admitted that he never asked Mr. Clark to appeal

  his son’s case, and he only spoke once to Mr. Clark after the sentencing.

         Michael Gentry testified that Defendant called him at some point after sentencing and

  expressed concern about the “time factor.” Michael Gentry clarified that this discussion was

  about the filing of an appeal, which Defendant’s brother, a co-defendant, had already filed.

  Michael Gentry testified that he tried to call Mr. Clark and even went by Mr. Clark’s office




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  to discuss an appeal, but Mr. Clark was not there. Michael Gentry said his wife also tried

  without success to call Mr. Clark.

         Defendant testified that he never had any discussion with Mr. Clark or his parents

  about the scope of M r. Clark’s representation. He said M r. Clark never told him that he was

  not hired for the appeal or that he did not do federal appellate work. Defendant never saw

  or talked to Mr. Clark after his federal sentence was imposed, except for a very brief

  appearance in a Bossier Parish court for sentencing on a related state conviction. He testified

  that he never discussed an appeal with Mr. Clark at any time. Defendant said he called his

  mother at some point after sentencing, and she was under the impression that Mr. Clark

  would file the same thing Defendant’s brother’s attorney had filed. Defendant learned a few

  months later that no appeal had been filed for him. His mother then researched the legal

  issues and filed the Section 2255 motion that is before the court.

         C. No Objection to the PSR

         In addition to the lack of an appeal, Defendant complains in his amended Section

  2255 motion that Mr. Clark should have objected at sentencing to the inclusion in the loss

  calculation of the worker’s compensation indemnity and medical expenses incurred because

  of the policeman’s injury.2     The PSR included those amounts at paragraph 32 and



         2
           The Government did not oppose the filing of the amendment to the motion, although
  it reserved all rights to contest the relief sought. The Government has not raised any
  timeliness defense to the amendment. The amendment should relate back to the original
  timely motion because both the original and amended claims rely on facts that are similar in
  time and type. See Mayle v. Felix, 125 S.Ct. 2562 (2005).

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  recommended a four level increase because the total loss exceeded $800,000. If the improper

  amounts were subtracted, the total loss would be less than $800,000, and only a three level

  increase would be warranted.

         Stephen Glassell, an attorney for one of the co-defendants, reviewed his client’s PSR

  and faxed a letter to counsel for the co-defendants. Mr. Clark admitted that he received the

  letter. The letter made several observations about the PSR, including one about the addition

  of four points for the value of the loss. M r. Glassell wrote that the medical expenses and new

  carpet were caused solely by the actions of Regan Gatti, who fired the shots at the officer and

  who tracked the blood through the house. Mr. Glassell’s letter did not specifically attack the

  loss calculation on the grounds the Fifth Circuit ultimately employed to set it aside.

         Mr. Clark made handwritten notes on the back of the last page of Mr. Glassell’s letter.

  He testified that he could not recall whether he took the notes in preparation for a meeting

  with his client about the PSR or during the meeting with his client. The notes include

  comments on 10 of the 96 numbered paragraphs in the PSR. The notes appear to be the basis

  for potential objections, and the word “object” appears at least three times. With respect to

  paragraph 32 of the PSR, Mr. Clark wrote: “‘Loss’ is +/- $42,753.25 but also take out 17K

  for R. G.’s blood.” The larger number is the total of the house repairs and medical expenses.

  Mr. Clark could not recall exactly what his notes meant, but the notes do indicate some

  awareness on his part of a potential ground for objection to the loss calculation.




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         Defendant testified that Mr. Clark came to visit him in jail to review the PSR, and Mr.

  Clark told him that he was going to make a couple of objections at sentencing. Defendant

  remembered that Mr. Clark said he was going to make some sort of objection about the gun

  and an objection about the “money issue.” Mr. Clark could not recall the specifics of the

  meeting, but he was sure that he went over every line of the PSR with Defendant.

         Mr. Clark did not file any written objection to the PSR, and he did not make any oral

  objections at the sentencing hearing. He testified that he frankly could not remember why

  he did not do so, and he could not articulate any strategy or tactical reason for not objecting.

  He did recall that the loss objection was raised by some co-defendants who were sentenced

  the same day, but the objection was rejected by the sentencing judge. The Government asked

  Mr. Clark if he were aware that a prosecutor might seek to deprive a defendant of a reduction

  for acceptance of responsibility if the defendant made too many objections to a PSR. Mr.

  Clark did not indicate that such was a motivation for his lack of objection or that any such

  suggestion was made by the prosecutor in this case.3

         Some of the co-defendants did object to the inclusion of the officer’s medical

  expenses and worker’s compensation benefits, and the Fifth Circuit ultimately vacated the

  sentences of two defendants who pursued the issue on appeal. The Fifth Circuit held that,




         3
          A prosecutor might rationally argue that a defendant was not accepting responsibility
  if the defendant objected to key facts in a PSR that related to the defendant’s guilt or
  responsibility, but the objection at issue was a legal argument based on an interpretation of
  the word “loss” in the guidelines. Defendant did not have to deny his criminal behavior to
  make this objection.

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  under the relevant guideline, “loss” is defined as “the value of the property taken, damaged,

  or destroyed” and the plain language of the definition extends only to impairments to

  property. Thus, the medical expenses and other costs associated with the injuries suffered

  by the police officer were not properly included, and the total amount of the loss was less

  than $800,000.

         The two co-defendants who obtained relief on appeal ultimately received the same

  sentence on remand. Presumably, the change in guidelines calculation made no difference

  with respect to the possible sentence for one of the defendants. The other defendant’s

  original sentence was still within the properly adjusted guidelines range and was reimposed.

  Defendant’s case is different. If Defendant’s guidelines range is calculated in accordance

  with the Fifth Circuit’s decision, the proper range is 168 to 210 months. Thus, Defendant’s

  226 month sentence on the bank robbery count exceeds the top of the guidelines range by

  16 months.

         Mr. Clark agreed that his lack of objection meant that an appeal, if taken, would have

  been only for plain error. He also agreed that if he had raised the issue at sentencing, even

  if it were rejected by the district court, the issue would have been preserved for appellate

  review and almost certainly successful if pursued.

  Lack of Objection Warrants New Sentencing

         A. Performance

         Defendant has the burden of proving two components to establish ineffective

  assistance of counsel: deficient performance and prejudice. The proper standard for attorney

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  performance is “reasonably effective assistance” that is to be assessed without the distorting

  effects of hindsight and evaluated from counsel’s perspective at the time, indulging a strong

  presumption that counsel’s conduct falls within the wide range of reasonable professional

  assistance. Strickland v. Washington, 104 S.Ct. 2052, 2064-65 (1984). That is, Defendant

  must overcome the presumption that, under the circumstances, the challenged action or

  inaction might be considered sound strategy. Strickland, 104 S.Ct. 2065. While counsel’s

  actions enjoy a presumption they are made in the exercise of reasonable professional

  judgment, the court must also keep in mind that counsel’s function “is to make the

  adversarial testing process work in the particular case.” Strickland, 104 S.Ct. at 2066.

         A defense counsel may be forgiven if he has a multitude of possible objections or

  arguments but chooses for strategic reasons to focus his and the court’s attention on what he

  believes to be the best arguments. A resulting conviction or sentence should not, therefore,

  be thrown out lightly in such a case merely because counsel elected not to argue every

  possible defense. In this case, there was no strategic selection of objections and arguments.

  Rather, there was no objection at all.

         Defendant pleaded guilty, allowing counsel to focus on the sentencing hearing in an

  effort to reduce Defendant’s exposure and ultimate sentence. Counsel demonstrated through

  his notes and admitted receipt of Mr. Glassell’s letter that he was aware of a potential issue

  regarding calculation of the loss, and Defendant testified that his counsel said he intended

  to make an objection regarding the loss. (Counsel did not recall the specifics of his meeting

  with Defendant about the PSR.) Yet, counsel made no objection and, at the hearing on the

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 Section 2255 motion, he could not articulate any strategy or other rationale for failing to

 make the objection.

        There has not been a showing that there was Fifth Circuit precedent or other

 persuasive jurisprudential authority at the time that supported the objection, but when the

 Fifth Circuit was presented with the issue, it held that the plain language of the guidelines

 excluded consideration of the worker’s compensation payments and medical payments

 associated with the injuries to the police officer. Reasonably effective counsel would have,

 at the time of sentencing, raised the loss objection, just as counsel for two co-defendants did.

 The fact that the sentencing judge rejected the objection when others made it should not

 excuse the omission. A reasonably effective criminal defense counsel must make an

 objection that is supported by the plain language of the guidelines and that can reduce his

 client’s sentence by several months even if the sentencing judge indicates disagreement.

 Moreover, reasonably effective criminal defense counsel do not shy from confrontation and

 must zealously present their client’s arguments. In this case, the performance prong of the

 Strickland standard has been satisfied. Compare U. S. v. Stricklin, 290 F.3d 748 (5th Cir.

 2002) (sentence vacated when counsel failed to object at sentencing to quantity of P2P used

 to compute sentence when trial evidence indicated the material was a mixture); and U. S. v.

 Conley, 349 F.3d 837 (5th Cir. 2003) (sentence vacated when counsel failed to object to

 sentence above the statutory maximum).




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        B. Prejudice

        The next issue is whether Defendant has shown prejudice stemming from the error.

 There is no doubt that, in light of the Fifth Circuit’s decision on the co-defendants’ case, an

 objection at sentencing that was pursued on direct appeal would have resulted in the original

 sentence being vacated. Defendant’s current sentence is 16 months more than the guidelines

 maximum . That additional prison time constitutes prejudice. Glover v. U. S., 121 S.Ct. 696

 (2001), Stricklin, 290 F.3d at 752 (if objection had been pursued, proper guidelines range

 was less than sentence imposed; prejudice was shown).

        C. Remedy

        Section 2255 provides that if the sentence imposed is open to collateral attack, “the

 court shall vacate and set the judgment aside and shall discharge the prisoner or resentence

 him or grant a new trial or correct the sentence as may appear appropriate.”              It is

 recommended that the appropriate means of remedying this ineffective assistance claim is

 to set a date for a new sentencing hearing, at which the court can vacate the original sentence

 and impose a new sentence. New counsel will (presumably) raise the omitted objection and

 any other objections he may deem proper.

 Alternative: Out-of-Time Appeal is Warranted

        A. Introduction

        If a new sentencing hearing is granted, the court need not address Defendant’s

 argument that he is entitled to an out-of-time appeal because his counsel failed to file an

 appeal. That issue would become moot because a direct appeal will be available following

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 the entry of judgment imposing the new sentence. The no-appeal claim will, however, be

 addressed here as an alternative basis for granting collateral relief. For the reasons that

 follow, an out-of-time appeal is warranted.

        B. Roe: An Overview

        The governing law is set forth in Roe v. Flores-Ortega, 120 S.Ct. 1029 (2000). The

 petitioner in Roe pleaded guilty to second degree murder and was sentenced to fifteen years

 to life in state prison. The trial judge told him he could file an appeal within 60 days from

 the date of sentence and that, if he could not afford counsel, counsel would be appointed to

 represent him on appeal. The public defender wrote “bring appeal papers” in her file, but no

 notice of appeal was filed within the permitted time. Petitioner subsequently tried to file a

 notice of appeal, but the clerk rejected the notice as untimely. Petitioner then sought habeas

 relief, and the case proceeded to the Supreme Court. The Court judged the claim under the

 familiar test of Strickland, supra, which requires a showing that (1) counsel’s representation

 fell below an objective standard of reasonableness and (2) the deficient performance

 prejudiced the defendant.

        In the context of whether counsel must file an appeal, the Court first held that a lawyer

 who disregards specific instructions from his client to file a notice of appeal acts in a manner

 that is professionally unreasonable. Roe, 120 S.Ct. at 1035. At the other end of the

 spectrum, a petitioner cannot complain of ineffective assistance if he explicitly tells his

 attorney not to file an appeal and the attorney follows those instructions. Id.




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        The more difficult question is that presented in Roe (and in this case): Is counsel

 deficient for not filing a notice of appeal when the defendant has not clearly conveyed his

 wishes one way or the other? The first inquiry in such a case is to ask “whether counsel in

 fact consulted with the defendant about an appeal.” Roe, 120 S.Ct. at 1035. ‘Consult’ was

 said to mean advising the defendant about the advantages and disadvantages of taking an

 appeal, and making a reasonable effort to discover the defendant’s wishes. Id.

        C. No Timely Consultation

        Attorney Clark candidly admitted that he never consulted with Defendant or

 Defendant’s family about a possible appeal. There was no evidence that, despite the lack of

 consultation, Defendant ever expressly stated to Mr. Clark that he did want to pursue an

 appeal or did not want to pursue an appeal. As Mr. Clark testified, there was no discussion

 between him and his client regarding an appeal. Accordingly, the next issue is whether

 defense counsel had a duty to consult about an appeal.

        D. Duty to Consult

        Roe states that if counsel has not consulted with the defendant, the next question is

 whether counsel’s failure to consult with the defendant itself constitutes deficient

 performance. In other words, when does counsel have an obligation to consult with his client

 about an appeal? The Court stated that the better practice is for counsel routinely to consult,

 but the Court could not as a constitutional matter hold that a failure to consult was

 necessarily unreasonable in every case. The Court posed the following example: a defendant

 consults with counsel, counsel advises that a guilty plea probably will lead to a two year

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 sentence, the defendant expresses satisfaction and pleads guilty, the court sentences the

 defendant to two years as expected, the court informs the defendant of his appeal rights, and

 he does not express any interest in appealing. If counsel in that case concludes there are no

 non-frivolous grounds for appeal, he is likely not, said the Court, acting unreasonably if he

 does not consult regarding an appeal. Another example provided by the Court is when a

 sentencing court’s instructions about appeal rights in a particular case are “so clear and

 informative as to substitute for counsel’s duty to consult.” Roe, 120 S.Ct. at 1036.

        This case is not square with either of those examples.          Judge Walter advised

 Defendant at sentencing: “You have a right to appeal, and should you appeal, the Clerk will

 send the Presentence Report under seal to the Court of Appeals.” There was no particular

 elaboration about how to effect an appeal and there was no mention of the deadline for filing

 a notice of appeal, so the court’s remarks in this case do not substitute for counsel’s duty to

 consult. Defendant did plead guilty, which is a “highly relevant factor,” Roe, 120 S.Ct. at

 1036, but he did not plead guilty based on an agreed or projected sentence, and the stakes in

 this case are much greater than the two-year sentence in the Roe example. When a sentence

 of almost 20 years is imposed, the likelihood increases that a court will find that counsel has

 a duty to consult about a possible appeal. The clear cut examples in Roe where a consultation

 is not necessary are inapplicable.

        Pursuant to Roe, the court determines whether counsel had a duty to consult by

 examining whether there is reason to think either (1) that a rational defendant would want

 to appeal (for example, because there are non-frivolous grounds for appeal), or (2) that this

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 particular defendant reasonably demonstrated to counsel that he was interested in appealing.

 120 S.Ct. at 1036. The inquiry must examine all relevant factors in a given case, but the

 Supreme Court expected that courts would find “in the vast majority of cases” that counsel

 had a duty to consult about an appeal. Id. at 1037.

         Court-appointed counsel for Defendant, at the close of the evidentiary hearing,

 conceded that Defendant did not reasonably demonstrate an interest in appealing. Counsel

 argued that a duty arose nonetheless because a rational defendant would want to appeal

 because, if properly and effectively advised, he would be aware of the non-frivolous ground

 for appeal with respect to the loss issue that could reduce the guidelines range by several

 months. The undersigned agrees that, given the length of the sentence imposed and the

 nonfrivolous ground for appeal, counsel had a duty under the circumstances to consult with

 his client about an appeal and determine with certainty his client’s wishes on the subject.

 Assumptions and guesses about a client’s wishes are not sufficient when the stakes are so

 high.

         E. Prejudice

         The second component of the Strickland test requires Defendant to show prejudice.

 Roe explains that Defendant need not show that he would have prevailed on appeal, and even

 an inability to specify the points he would raise were his right to appeal reinstated will not

 foreclose the possibility that he can show prejudice. Rather, to show prejudice in a case such

 as this, a defendant “must demonstrate that there is a reasonable probability that, but for

 counsel’s deficient failure to consult with him about an appeal, he would have timely

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 appealed.” Roe, 120 S.Ct. at 1038-40. Evidence of a non-frivolous ground for appeal or that

 the defendant promptly expressed a desire to appeal will often be highly relevant. Id. at

 1039.

         There is evidence of a non-frivolous ground for appeal. Just as the existence of that

 ground helped give rise to a duty to consult, it also establishes prejudice because a client

 made aware of that ground and counseled about an appeal would have wanted to appeal.

         Counsel for the Government argued that there would be no prejudice if Judge Walter

 were inclined to impose the same sentence on Defendant. That original sentence exceeds the

 properly calculated guidelines range, so it could be imposed in the post-Booker/Fanfan era,

 but if a judge imposes a non-guidelines sentence, he must “carefully articulate the reasons”

 that he concludes the sentence selected is appropriate for that defendant. U. S. v. Mares, 402

 F.3d 511, 519 (5th Cir. 2005). The reasons must be fact specific and include aggravating or

 mitigating circumstances relating to personal characteristics of the defendant, his offense

 conduct, his criminal history, relevant conduct or other facts specific to the case that led the

 court to conclude that the sentence imposed was fair and reasonable. Id. See also 18 U.S.C.

 § 3553(c). However, the undersigned will not recommend denial of relief based on an

 assumption that Judge Walter might be inclined to impose a sentence in excess of the

 guidelines range.

 Conclusion; Relief

         The first recommendation is that Section 2255 relief be granted with respect to the

 claim that counsel should have objected to the loss issue at sentencing. The appropriate

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 remedy is to grant a new sentencing hearing, vacate the original sentence and impose a new

 sentence. Defendant can then pursue a direct appeal, so this first alternative would render

 moot the original claim that counsel was defective for not filing a direct appeal.

        If the court should decline to grant relief with respect to the objection issue but finds

 that relief is appropriate on the failure to appeal claim, the procedures described in U. S. v.

 West, 240 F.3d 456 (5th Cir. 2001) must be followed to permit appellate jurisdiction over the

 out-of-time appeal. West instructs the district judge to reinstate the underlying criminal

 judgment on the criminal docket. Thereafter, the time for appeal is the 10 days permitted by

 F.R.A.P. 4(b)(1)(A).

        Accordingly;

        IT IS RECOMMENDED that Defendant’s Motion to Vacate (Doc. 252), as amended

 at Doc. 288, be resolved by granting Defendant a new sentencing hearing at which counsel

 may raise the loss objection that was the subject of the Amended Motion.

        IT IS FURTHER RECOMMENDED that, in the event the court decides relief is

 not warranted with respect to the Amended Motion and the failure to object claim, that the

 court grant Defendant the remedy of an out-of-time direct appeal by reinstating on the

 criminal docket Defendant’s underlying criminal judgment that is found at Doc. 191,

 originally entered on February 23, 2004.

                                          Objections

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and Fed. R. Civ. P. 72(b), parties

 aggrieved by this recommendation have ten (10) business days from service of this report and

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 recommendation to file specific, written objections with the Clerk of Court, unless an

 extension of time is granted under Fed. R. Civ. P. 6(b). A party may respond to another

 party's objections within ten (10) days after being served with a copy thereof. Counsel are

 directed to furnish a courtesy copy of any objections or responses to the District Judge at the

 time of filing.

        A party's failure to file written objections to the proposed findings, conclusions and

 recommendation set forth above, within 10 days after being served with a copy, shall bar that

 party, except upon grounds of plain error, from attacking on appeal the unobjected-to

 proposed factual findings and legal conclusions accepted by the district court. See Douglass

 v. U.S.A.A., 79 F.3d 1415 (5th Cir. 1996) (en banc).

        THUS DONE AND SIGNED at Shreveport, Louisiana, this 28th day of March, 2006.




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